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FLSA Collective Plaintiffs,
and the Class

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HAROLD KING
 on behalf of himself, FLSA Collective Plaintiffs,
 and the Class,

                        Plaintiff,
                                                              COLLECTIVE ACTION
     v.
                                                              COMPLAINT

                                                              Jury Trial Demanded
 FEDCAP REHABILITATION SERVICES, INC.,
 and WILDCAT SERVICE CORPORATION,


                        Defendants.


          Plaintiff, HAROLD KING (“Plaintiff”), on behalf of himself, FLSA Collective Plaintiffs,

and Class Members, by and through his undersigned attorneys, hereby files this Class and

Collective Action Complaint against Defendants FEDCAP REHABILITATION SERVICES,

INC. and WILDCAT SERVICE CORPORATION (“Defendants”), and state as follows:

                                        INTRODUCTION

          1. Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C.

§§201 et. seq. (“FLSA”), that he and others similarly situated are entitled to recover from

Defendants: (1) unpaid overtime compensation resulting from time shaving, (2) unpaid overtime




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compensation due to an impermissible policy of rounding hours down down, (3) liquidated

damages, and (4) attorneys’ fees and costs.

       2. Plaintiff further alleges that, pursuant to the New York Labor Law (“NYLL”), he and

others similarly situated are entitled to recover from Defendants: (1) unpaid overtime

compensation resulting from time shaving, (2) unpaid overtime compensation due to an

impermissible policy or rounding hours downf rounding hours down, (3) unpaid spread of hours

premium (4) statutory penalties, (5) liquidated damages, and (6) attorneys’ fees and costs.

       3. Plaintiff further alleges that, pursuant to New York State Human Rights Law N.Y.

Exec. Law § 296 (“NYSHRL”), Plaintiff is entitled to recover from Defendants for racial

discrimination: (1) back wages and (2) compensatory damages.

       3.4.Plaintiff further alleges that, pursuant to New York City Human Rights Law

Administrative Code of City of NY § 8-107 (“NYCHRL”), Plaintiff is entitled to recover from

Defendants for racial discrimination: (1) back wages, (2) compensatory and punitive damages and

(3) attorneys’ fees and costs.

                                    JURISDICTION AND VENUE

       4.5.This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b), 28

U.S.C. §§1331, 1337, and 1343, and has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. §1367.

       5.6.Venue is proper in the Southern District pursuant to 28 U.S.C. §1391.

                                              PARTIES

       6.7.Plaintiff, HAROLD KING, for all relevant time periods, was a resident of Kings

County, New York.




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       7.8.Defendants operate a recruiting not-for-profit company for job insertion of New York

City ex-offenders, disconnected youth, and public assistance recipients.

       8.9.Corporate Defendants:

           a. FEDCAP REHABILITATION SERVICES, INC., is a domestic not-for-profit

                corporation organized under the laws of the State of New York and an address for

                service of process located at 633 Third Avenue, 6th Floor, New York, NY 10017.

           b. WILDCAT SERVICE CORPORATION is a domestic not-for-profit corporation

                organized under the laws of the State of New York and an address for service of

                process located at 633 Third Avenue, 6th Floor, New York, NY 10017.

       9.10.    At all relevant times, each of Defendants FEDCAP REHABILITATION

SERVICES, INC. and WILDCAT SERVICE CORPORATION were and continue to be an

“enterprise engaged in commerce”, within the meaning of the FLSA.

       10.11. At all relevant times, each of the work performed by Plaintiff, FLSA Collective

Plaintiffs, and Class Members was directly essential to the business operated by Defendants.

       11.12. Combined, Defendants FEDCAP REHABILITATION SERVICES, INC. and

WILDCAT SERVICE CORPORATION run a job recruiting and placement nonprofit company in

NYC

       12.13. Defendants, through their Managers or their delegates, conveying Defendants

instructions:

           a) Enroll Plaintiff, FLSA Collective Plaintiffs, and Class Members in a job insertion

                program managed by Defendants.

           b) After offering Plaintiff, FLSA Collective Plaintiffs, and Class Members training

                with basic working skills (such as MS Office, cleaning, cooking, among others),



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               Defendants proceed to contact their partnered corporations in order to find available

               entry level job positions for Plaintiff, FLSA Collective Plaintiffs, and Class

               Members.

           c) Even though Plaintiff, FLSA Collective Plaintiffs, and Class Members are

               performing work for a third-party company, Defendants manage the payroll and are

               in charge of administering Plaintiff, FLSA Collective Plaintiffs, and Class

               Members wages and compensations.

           d) All Plaintiffs received their paystub and paychecks directly from Defendants,

           e) Thus, Defendants are Plaintiff, FLSA Collective Plaintiffs, and Class Members

               employers.

       13.14. Corporate Defendants are properly named on the basis of their outstanding liability

to the Class Members for whom Plaintiff seeks to represent.

                           FLSA COLLECTIVE ACTION ALLEGATIONS

       14.15. Plaintiff brings claims for relief as a collective action pursuant to FLSA Section

16(b), 29 U.S.C. § 216(b), on behalf of all non-exempt employees that where employed by

FEDCAP REHABILITATION SERVICES, INC under their job placement programs on or after

the date that is six years before the filing of the Complaint in this case as defined herein (“FLSA

Collective Plaintiffs”).

       15.16. At all relevant times, Plaintiff and the other FLSA Collective Plaintiffs are and have

been similarly situated, have had substantially similar job requirements and pay provisions, and

are and have been subjected to Defendants’ decisions, policies, plans, programs, practices,

procedures, protocols, routines, and rules, all culminating in a willful failure and refusal to pay

them over time compensation at the rate of one and one half times the regular rate for work in



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excess of forty (40) hours per workweek and spread of hours premium for work shifts exceeding

ten (10) hours, all of this due to improper time shaving. The claims of Plaintiff stated herein are

essentially the same as those of the other FLSA Collective Plaintiffs.

        16.17. The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to §16(b) of the FLSA, 29 U.S.C. 216(b). The FLSA Collective Plaintiffs

are readily ascertainable. For purposes of notice and other purposes related to this action, their

names and addresses are readily available from the Defendants. Notice can be provided to the

FLSA Collective Plaintiffs via first class mail to the last address known to Defendants.

                       RULE 23 CLASS ALLEGATIONS – NEW YORK

        17.18. Plaintiff further brings claims for relief pursuant to the Federal Rules of Civil

Procedure (“F.R.C.P.”) Rule 23, on behalf of all non-exempt employees that where employed by

FEDCAP REHABILITATION SERVICES, INC under their job placement program on or after

the date that is six years before the filing of the Complaint in this case as defined herein (the “Class

Period”).

        18.19. All said persons, including Plaintiff, are referred herein as the “Class.” The Class

Members are readily ascertainable. The number and identity of the Class Members are

determinable from the records of Defendants. The hours assigned and worked, the position held,

and rates of pay for each Class Member may also be determinable from Defendants’ records. For

purposes of notice and other purposes related to this action, their names and addresses are readily

available from Defendants. Notice can be provided by means permissible under F.R.C.P. 23.

        19.20. The proposed Class is so numerous such that a joinder of all Members is

impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

Although the precise number of such persons is unknown because the facts on which the



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calculation of that number rests presently within the sole control of Defendants, there is no doubt

that there are more than forty (40) Members of the Class.

       20.21. Plaintiff’s claims are typical of those claims that could be alleged by any Member

of the Class, and the relief sought is typical of the relief that would be sought by each Member of

the Class in separate actions. All the Class Members were subject to the same corporate practices

of Defendants. Defendants’ policies and practices affected all Class Members similarly, and

Defendants benefited from the same type of unfair and wrongful acts as to each Class Member.

Plaintiffs and other Class Members sustained similar losses, injuries, and damages arising from

the same unlawful policies, practices, and procedures, all culminating in a willful failure to (i) pay

employees overtime premiums (ii) pay employees for off the clock work (iii) pay employees

spread of hours premiums, and (iv) provide them with wage and hour notice upon hiring and

annually thereafter.

       21.22. Plaintiff is able to fairly and adequately protect the interests of the Class and has no

interests antagonistic to the Class. Plaintiff is represented by attorneys who are experienced and

competent in both class action litigation and employment litigation and have previously

represented plaintiffs in wage and hour cases.

       22.23. A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of the wage and hour litigation where

individual Class Members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a large number of similarly situated

persons to prosecute common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because losses, injuries, and damages suffered by each of the individual Class Members are small



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in the sense pertinent to a class action analysis, the expenses and burden of individual litigation

would make it extremely difficult or impossible for the individual Class Members to redress the

wrongs done to them. On the other hand, important public interests will be served by addressing

the matter as a class action. The adjudication of individual litigation claims would result in a great

expenditure of Court and public resources; however, treating the claims as a class action would

result in a significant saving of these costs. The prosecution of separate actions by individual

Members of the Class would create a risk of inconsistent and/or varying adjudications with respect

to the individual Members of the Class, establishing incompatible standards of conduct for

Defendants and resulting in the impairment of Class Members’ rights and the disposition of their

interests through actions to which they were not parties. The issues in this action can be decided

by means of common, class-wide proof. In addition, if appropriate, the Court can, and is

empowered to, fashion methods to efficiently manage this action as a class action.

       23.24. Defendants and other employers throughout the state violate the New York Labor

Law. Current employees are often afraid to assert their rights out of fear of direct or indirect

retaliation. Former employees are fearful of bringing claims because doing so can harm their

employment, future employment, and future efforts to secure employment. Class actions provide

Class Members who are not named in the Complaint a degree of anonymity, which allows for the

vindication of their rights while eliminating or reducing these risks.

       24.25. There are questions of law and fact common to the Class which predominate over

any questions affecting only individual Class Members, including:

         a) Whether Defendants employed Plaintiffs and the Class within the meaning of the

             New York law;




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         b) What are and were the policies, practices, programs, procedures, protocols and plans

             of Defendants regarding the types of work and labor for which Defendants did not

             pay the Class Members properly;

         c) At what common rate, or rates subject to common methods of calculation, was and

             are Defendants required to pay the Class Members for their work;

         d) Whether Defendants provided to Plaintiff and Class Members proper wage and hour

             notice, at date of hiring and annually, per requirements of the New York Labor Law;

             and,

         e) Whether Defendants provided to Plaintiff and Class Members proper wage

             statements with each payment of wages as required by New York Labor Law.

                                  STATEMENT OF FACTS

       25.26. Plaintiff   HAROLD        KING        was   hired   by   Defendants’    FEDCAP

REHABILITATION SERVICES, INC. to perform work for third party companies under

Defendant’s job placement program in or around January 2014.

       26.27. Through his employment, Plaintiff worked for FEDCAP REHABILITATION

SERVICES, INC with different titles and schedules, mostly as a laborer. The last position he had

under Defendant’s program was as a Maintenance Worker.

       27.28. For his last position, Plaintiff’s schedule was six days per week from 7:00 AM to

4:30 PM for at least fifty-seven (57) hours per week.

       28.29. Plaintiff’s last compensation was $19.31 per hour. Plaintiff’s entire payment was

paid with checks. Similarly, FLSA Collective Plaintiffs and Class Members were also paid by

Defendants with checks only.




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        29.30. Even though Plaintiff was performing tasks for different entities that had a pact

with Defendants reinsertion programs,, Plaintiff’s payroll, timesheets, paystubs, and other work

related documents were directly under Defendants supervision and control, and Defendant was the

one that established Plaintiff’s wages, pay methods, and working time. For those reasons,

according to the FLSA regulations, Defendant is the sole employer of Plaintiff, FLSA Collective

Plaintiffs, and the Class.

            During Plaintiff’s employment, a designated supervisor kept track of Plaintiff’s time

records by writing Plaintiff’s worked hours on a notebook. Afterwards, all handwritten data was

sent to FEDCAP REHABILITATION offices to produce the respective payrolls. Defendants

subjected Plaintiff to an impermissible and non-neutral rounding policy whereby daily hours

worked were rounded down to the hour for purposes of calculating compensation. This policy of

rounding down hours resulted in Plaintiff being compensated for less regular and overtime hours

than they actually worked. Likewise, FLSA Collective Plaintiffs and Class Members were subject

to this rounding policy and suffered uncompensated regular and overtime hours as a result.

        30.31. Plaintiff’s hours were rounded down every week. Accordingly, FLSA Collective

Plaintiffs and Class Members received the same wrongful time down rounding.

        31. Additionally, after Plaintiff’s hours were written down, he was requested to continue

working for at least four more hours. These extra worked hours were never corrected in the

notebook or the official payroll. As a result, Plaintiff suffered from unpaid wages due to time

shaving, as he regularly worked four more hours than what is documented in the records.

        32. Plaintiff was required to work throughout his shifts without any meal breaks. Despite

Plaintiff not having any breaks throughout the entirety of his shift, Defendants automatically

deducted an hour from Plaintiff’s wages, resulting in unpaid regular and overtime wages. FLSA



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Collective Plaintiffs and Class Members were similarly required to work throughout their shifts

without breaks and were similarly subject to an automatic hour deduction and suffered unpaid

regular and overtime wages.

            During his employment by Defendants, Plaintiff regularly worked shifts exceeding ten

(10) hours in duration. However, he never received any spread of hours premium for working such

shifts, as required under the NYLL. Similarly, Class Members regularly worked shifts exceeding

ten (10) hours in duration, but were never paid spread of hours premium.

       32.33.

       34. Defendants failed to maintain proper employment records, as required by the FLSA

and NYLL. At all relevant times, Defendants provided fraudulent wage statements to Plaintiff,

which failed to accurately show the number of hours worked by Plaintiff in a given workweek.

Class Members received similar fraudulent wage statements due to Defendants’ policy of time

shaving.

       35. Defendants never provided Plaintiff and Class Members with proper wage notices, as

required by the NYLL.

       36. Defendants knowingly and willfully operated their business with a policy of failing to

pay Plaintiff, FLSA Collective Plaintiffs and Class members for all hours worked due to a policy

of time-shaving, in violation of the FLSA and NYLL.

       37. Defendants knowingly and willfully operated their business with a policy of not

providing proper wage statements as required under the NYLL.

       38. Defendants knowingly and willfully failed to provide proper wage and hour notice to

employees at the beginning of employment and annually thereafter pursuant to the requirements

of the NYLL.



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       39. During Plaintiff HAROLD KING’s employment by Defendants, Defendants permitted

managerial employees to foster a racially hostile work environment. The supervisors at the

maintenance company created a hostile environment and discriminated against Plaintiff HAROLD

KING on the basis of his race. Plaintiff is an African American male.

       40. In or around October 2018, Manager “Veto” (Last Name Unknown) began taunting

Plaintiff HAROLD KING with racially charged insults such as, “Nigger,” “Jailbird,” and an

assortment of other racially derogatory comments. Plaintiff noticed that Manager “Veto” was

inebriated during the incident. When Plaintiff complained about this to the company, his treatment

at work deteriorated further, and he was eventually terminated.

       33. During Plaintiff’s employment. he worked more than forty (40) hours per week, fact

that was not only improperly recorded, it also caused that Plaintiff received no overtime premium

compensations of one and a half times his hourly wage. Likewise, Class Members never received

proper wage and hour notices upon hiring or upon changes in the information on the notice.

       34.1.   Defendants subjected Plaintiff to an impermissible and non-neutral rounding policy

whereby daily hours worked were rounded down to the hour for purposes of calculating

compensation. This policy of rounding down hours resulted in Plaintiff being compensated for less

regular and overtime hours than they actually worked. Likewise, FLSA Collective Plaintiffs and

Class Members were subject to this rounding policy and suffered uncompensated regular and

overtime hours as a result.

DEFENDANTS FAILED TO PAY SPREAD OF HOURS PREMIUM FOR SHIFTS

EXCEEDING 10 HOURS IN DURATIONS TO PLAINTIFF OR CLASS MEMBERS

       35.1.   During his employment by Defendants, Plaintiff regularly worked shifts exceeding

ten (10) hours in duration. However, he never received any spread of hours premium for working



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such shifts, as required under the NYLL. Similarly, Class Members regularly worked shifts

exceeding ten (10) hours in duration, but were never paid spread of hours premium.

DEFENDANTS          VIOLATED       THE     WAGE-AND-HOUR           NOTICE       AND     WAGE

STATEMENT REQUIREMENTS WITH RESPECT TO PLAINTIFF AND CLASS

MEMBERS

       36. During his employment by Defendants, Plaintiff never received a proper wage and hour

notice upon hiring or upon changes in the information on the notice, as required under the NYLL.

In fact, Plaintiff was never provided with any wage and hour notices by Defendants. Similarly,

Class Members never received proper wage and hour notices upon hiring or upon changes in the

information on the notice.

       37. During his employment by Defendants, Plaintiff never received a proper wage

statement. In fact, Defendants never provided Plaintiff with any wage statements during his

employment. Similarly, Class Members never received proper wage statements.

       38. Defendants unlawfully failed to provide Plaintiff and Class Members with wage and

hour notices upon hiring, as required under the NYLL.

       39.41. Plaintiff retained Lee Litigation Group, PLLC to represent Plaintiff, FLSA

Collective Plaintiffs and Class Members in this litigation and has agreed to pay the firm a

reasonable fee for its services.

                                   STATEMENT OF CLAIM

                                          COUNT I

VIOLATION OF THE FAIR LABOR STANDARDS ACT ON BEHALF OF PLAINTIFF

                             AND FLSA COLLECTIVE PLAINTIFFS




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       40.42. Plaintiff realleges and reavers Paragraphs 1 through 4138 of this class and

collective action Complaint as if fully set forth herein.

       41.43. At all relevant times, Plaintiff and FLSA Collective Plaintiffs are covered

individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207 (a).

       42.44. At all relevant times, Defendants employed Plaintiff and FLSA Collective Plaintiffs

within the meaning of the FLSA.

       43.45. At all relevant times, the Corporate Defendant had gross annual revenues in excess

of $500,000.00.

       44.46. At all relevant times, Defendants engaged in a policy and practice of refusing to

pay overtime compensation at the statutory rate of time and one-half to Plaintiffs and FLSA

Collective Plaintiffs for all hours worked in excess of forty hours per workweek.

       45.47. At all relevant times, the Defendants engaged in a policy and practice of refusing

to pay spread of hour premiums resulting from time shaving.

       46.48. Plaintiff is in possession of certain records concerning the number of hours worked

by Plaintiff and FLSA Collective Plaintiffs and the actual compensation paid to Plaintiff and FLSA

Collective Plaintiffs. Further records concerning these matters should be in the possession and

custody of the Defendants. Plaintiff intends to obtain all records by appropriate discovery

proceedings to be taken promptly in this case and, if necessary, will then seek leave of Court to

amend this Complaint to set forth the precise amount due.

       47.49. Defendants failed to properly disclose or apprise Plaintiff and FLSA Collective

Plaintiffs of their rights under the FLSA.




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       48.50. As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiff and FLSA Collective Plaintiffs are entitled to liquidated (i.e., double) damages pursuant

to the FLSA.

       49.51. Due to the intentional, willful and unlawful acts of Defendants, Plaintiff and FLSA

Collective Plaintiffs suffered damages in an amount not presently ascertainable of unpaid overtime

wages and spread of hours premium resulting of off-the-clock work, plus an equal amount as

liquidated damages.

       50.52. Plaintiff and FLSA Collective Plaintiffs are entitled to an award of their reasonable

attorneys’ fees and costs pursuant to 29 U.S.C. §216(b).

                                             COUNT II

 VIOLATION OF THE NEW YORK LABOR LAW ON BEHALF OF PLAINTIFF AND

                                       CLASS MEMBERS

       51.53. Plaintiff realleges and reavers Paragraphs 1 through 5249 of this class and

collective action Complaint as if fully set forth herein.

       52.54. At all relevant times, Plaintiff and Class Members were employed by the

Defendants within the meaning of the New York Labor LawNYLL, §§2 and 651.

       53.55. Defendants willfully violated Plaintiff’s and Class Members’ rights by failing to

pay them overtime compensation at the rate of not less than one and one-half times the regular rate

of pay for each hour worked in excess of forty (40) hours in a workweek.

       54.56. Defendants willfully violated Plaintiff’s and Class members’ rights by failing to

pay them spread of hours premium for working shifts in excess of ten (10) hours in duration.

       55.57. Defendants willfully violated Plaintiff’s and Class Members’ rights by not

proportioning proper break time.



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       56.58. Defendants failed to properly notify employees of their hourly pay rate and

overtime rate, in direct violation of the NYLLNew York Labor Law.

       57.59. Defendants failed to provide a proper wage and hour notice, at the date of hiring

and annually, to all non-exempt employees per requirements of the NYLLNew York Labor Law.

       60. Due to the Defendants’ NYLLNew York Labor Law violations, Plaintiff and Class

Members are entitled to recover from Defendants their unpaid overtime and spread of hours

premiums caused for unpaid off-the-clock work, reasonable attorneys’ fees, liquidated damages,

statutory penalties and costs and disbursements of the action, pursuant to NYLLNew York Labor

Law.

                                                 COUNT III

              VIOLATION OF THE NEW YORK STATE HUMAN RIGHTS LAW

       61. Plaintiff realleges and reavers Paragraphs 1 through 60 of this Class and Collective

Action Complaint as if fully set forth herein.

       62. The New York State Human Rights Law (“NYSHRL”) prohibits discrimination in the

terms, conditions, and privileges of employment, and the retaliation thereof, on the basis of an

individual’s race.

       63. Plaintiff is an employee and a qualified person within the meaning of NYSHRL and

Defendants are covered employers under the NYSHRL.

       64. Defendants operated a business that discriminated against Plaintiff in violation of the

NYSHRL by subjecting Plaintiff to a hostile work environment, in the form of failing to address

the constant harassment and abuses made against Plaintiff on the basis of his race, and by

terminating Plaintiff’s employment.

       65. Defendants’ conduct was intentional, malicious and in reckless disregard of Plaintiff’s



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protected rights under the New York Executive Law § 296.

       66. As a result of Defendants’ unlawful discriminatory practices, Plaintiff sustained injury,

including economic damages and past and future physical and emotional distress.

       67. Due to Defendants’ violations under the NYSHRL, Plaintiff is entitled to recover from

Defendants: (1) back pay and (2) compensatory damages.

                                              COUNT IV

                VIOLATION OF THE NEW YORK CITY HUMAN RIGHTS LAW

       68. Plaintiff realleges and reavers Paragraphs 1 through 67 of this Complaint as if fully set

forth herein.

       69. The New York City Human Rights Law (“NYCHRL”) prohibits discrimination in the

terms, conditions, and privileges of employment, and the retaliation thereof, on the basis of an

individual’s race.

       70. Defendants have and have had at all relevant times herein, at least four (4) persons in

their employ. Plaintiff is an employee and a qualified person within the meaning of NYCHRL and

Defendants are covered employers under the NYCHRL.

       71. Defendants operated a business that discriminated against Plaintiff in violation of the

NYCHRL by subjecting Plaintiff to a hostile work environment, in the form of failing to address

the constant harassment and abuse made towards Plaintiff on the basis of his race, and by

terminating Plaintiff’s employment.

       72. As a result of Defendants’ unlawful employment practice, Plaintiff sustained injury,

including economic damages, the past and future physical and emotional distress and the costs of

bringing this action.

       58.73. Due to Defendants’ violations under the NYCHRL, as amended, based on



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discrimination on the basis of race, Plaintiff is entitled to recover from Defendants: (1) back pay

and (2) compensatory damages.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff on behalf of himself, FLSA Collective Plaintiffs, and Class Members,

respectfully requests that this Court grant the following relief:

      a)    A declaratory judgment that the practices complained of herein are unlawful under the

            FLSA, and the NYLLNew York Labor Law, NYSHRL, and NYCHRL;.

      b)    An injunction against Defendants and their officers, agents, successors, employees,

            representatives and any and all persons acting in concert with them as provided by law,

            from engaging in each of the unlawful practices, policies and patterns set forth herein;

      c)    An award of damages to Plaintiff, retroactive to the date of his discharge and prior, for

            all lost wages and benefits, past and future, back and front pay, resulting from

            Defendants’ unlawful employment practices and to otherwise make him whole for any

            losses suffered as a result of such unlawful employment practices;

      d)    An award of liquidated and/or punitive damages as a result of unpaid overtime and

            spread of hours premiums due to off-the-clock work according to the FLSA and New

            York Labor Law.

      e)    An award of back pay and compensatory damages due under the NYSHRL;

      f)    An award of back pay and compensatory damages due under the NYCHRL;

      d)g) An award of punitive damages due under the NYCHRL;

      e)h) An award of statutory penalties as a result of Defendants’ failure to comply with New

            York Labor Law wage notice and wage statement requirements;




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       f)i) An award of prejudgment and post judgment interest, costs and expenses of this action

            together with reasonable attorneys’ and expert fees and statutory penalties;

       g)j) Designation of Plaintiff as Representative of the FLSA Collective Plaintiffs;

       h)k) Designation of this action as a class action pursuant to F.R.C.P. 23;

       i)l) Designation of Plaintiff as Representative of the Class; and

       j)m) Such other and further relief as this Court deems just and proper.

                                          JURY DEMAND

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff s demands trial by jury

on all issues so triable as of right by jury




Dated: New York, New York


                                                             Respectfully submitted,

                                                             LEE LITIGATION GROUP, PLLC

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                                    By: /s/ C.K. Lee          .
                                         C.K. Lee




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